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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-0748V
                                          UNPUBLISHED


    MELISSA SCHNELL,                                            Chief Special Master Corcoran

                         Petitioner,                            Filed: September 10, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Tetanus Diphtheria acellular
                                                                Pertussis (Tdap) Vaccine; Shoulder
                         Respondent.                            Injury Related to Vaccine
                                                                Administration (SIRVA)


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
      Petitioner.

Wei Kit Tai, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES1

       On June 23, 2020, Melissa Schnell filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”), a defined Table injury, after receiving the tetanus, diphtheria,
acellular pertussis vaccine on July 3, 2019. Petition at 1, ¶ 7. The case was assigned to
the Special Processing Unit of the Office of Special Masters.

      On August 27, 2021, I issued a ruling on entitlement, finding Petitioner entitled to
compensation for her SIRVA. On September 10, 2021, Respondent filed a proffer on
award of compensation (“Proffer”) indicating Petitioner should be awarded $50,060.00,

1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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representing $50,000.00 for her pain and suffering and $60.00 for her past
unreimbursable expenses. Proffer at 1-2. In the Proffer, Respondent represented that
Petitioner agrees with the proffered award. Id. at 2. Based on the record as a whole, I find
that Petitioner is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $50,060.00, representing $50,000.00 for her pain and suffering and
$60.00 for her actual unreimbursable expenses in the form of a check payable to
Petitioner. This amount represents compensation for all damages that would be available
under Section 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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                 THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS


 MELISSA SCHNELL,

                       Petitioner,

 v.                                                   No. 20-748V
                                                      Chief Special Master Corcoran
 SECRETARY OF HEALTH AND                              ECF
 HUMAN SERVICES,

                       Respondent.


            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On June 23, 2020, Melissa Schnell (“petitioner”) filed a petition for compensation under

the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34 (“Vaccine Act”

or “Act”), alleging that she suffered a Shoulder Injury Related to Vaccine Administration

(“SIRVA”), as defined in the Vaccine Injury Table, following administration of an tetanus,

diphtheria, and pertussis (“Tdap”) vaccine she received on July 3, 2019.

       On August 27, 2021, the Secretary of Health and Human Services (“respondent”) filed a

Rule 4(c) Report indicating that this case is appropriate for compensation under the terms of the

Act for a SIRVA Table injury. ECF No. 21. On August 27, 2021, the Chief Special Master

issued a Ruling on Entitlement finding petitioner entitled to compensation. ECF No. 22.

I.     Items of Compensation

       A.      Pain and Suffering

       Respondent proffers that petitioner should be awarded $50,000.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.
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       B.       Past Unreimbursable Expenses

       Evidence supplied by petitioner documents that she incurred past unreimbursable

expenses related to his vaccine-related injury. Respondent proffers that petitioner should be

awarded past unreimbursable expenses in the amount of $60.00. See 42 U.S.C. § 300aa-

15(a)(1)(B). Petitioner agrees.

       These amounts represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following1: a lump sum payment of $50,060.00, in the form of a

check payable to petitioner.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Melissa Schnell:                             $50,060.00

                                              Respectfully submitted,

                                              BRIAN M. BOYNTON
                                              Acting Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Acting Director
                                              Torts Branch, Civil Division

                                              HEATHER L. PEARLMAN
                                              Deputy Director
                                              Torts Branch, Civil Division


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  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
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                                   LARA A. ENGLUND
                                   Assistant Director
                                   Torts Branch, Civil Division

                                   s/ Wei Kit (Ricky) Tai
                                   WEI KIT (RICKY) TAI
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Dated: September 10, 2021




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